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 15
 16                   IN THE UNITED STATES DISTRICT COURT
 17               FOR THE CENTRAL DISTRICT OF CALIFORNIA
 18                               WESTERN DIVISION
 19 CRYTEK GMBH,                            )   Case No. 2:17-cv-08937-DMG-FFM
                                            )
 20                           Plaintiff,    )   PLAINTIFF’S NOTICE IN RESPONSE
                                            )   TO COURT’S DECEMBER 6, 2018
 21              v.                         )   ORDER (ECF NO. 49)
                                            )
 22 CLOUD IMPERIUM GAMES CORP.              )
    and ROBERTS SPACE INDUSTRIES            )
 23 CORP.,                                  )
                                            )
 24                           Defendants.   )
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         PLAINTIFF’S NOTICE IN RESPONSE TO COURT’S DECEMBER 6, 2018 ORDER
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  1        Plaintiff Crytek GmbH respectfully submits this notice pursuant to the Court’s
  2 Orders of December 6, 2018 (ECF No. 49) and December 27, 2018 (ECF No. 51).
  3 Plaintiff hereby notifies Defendants and the Court that it will not be amending the
  4 Second Amended Complaint at this time. Plaintiff reserves its rights to seek leave to
  5 amend its pleading pursuant to Federal Rule of Civil Procedure 15(a)(2) at a later
  6 stage of the proceedings in this action.
  7                                            Respectfully submitted,
  8
                                                 /s/ James Y. Pak
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          PLAINTIFF’S NOTICE IN RESPONSE TO COURT’S DECEMBER 6, 2018 ORDER
